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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF` TENNESSEE
WESTERN DIVISION

 

TERRY \/ICKERS,

 

Plaintift`,

v. No. 04-2427-l\/]l An
CITY ()F M,EMPHIS, MEl\/IPHIS FIRE
DEPARTMENT, and MIKE LAMBERT,
lndividually and in his official capacity,
and EDDIE MORGAN, Individually,

Det`endants.

 

ORDER OF DISMISSAL WITH PREJUDICE

 

Pursuant to the parties’ Stipulation of Disinissal With Prejudice, through Whieh they
represented that they have stipulated to the dismissal of all claims before this Court1 With each

party to bear its own costs,

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this cause is

hereby dismissed With prejudice, each party to bear its own costs.

e»@rrtdt

United tates District Judge

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Tl"is document entered on the docket sheet in compliance

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This notice confirms a copy ofthe document docketed as number 25 in
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Honorable .l on McCalla
US DISTRICT COURT

